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                                        #:846


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11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                  No. CR 18-00759-CJC

14             Plaintiff,                       OPPOSITION TO DEFENDANTS’ JOINT
                                                MOTION TO DISMISS THE INDICTMENT
15                   v.
                                                Hearing Date: 6/3/2019
16   ROBERT RUNDO,                              Hearing Time: 2:00 P.M.
     ROBERT BOMAN,                              Location:     Courtroom of the
17   AARON EASON, and                                         Hon. Cormac J.
     TYLER LAUBE,                                             Carney
18
               Defendants.
19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and the undersigned Assistant United States Attorneys,
23   hereby files its Opposition to Defendants’ Joint Motion to Dismiss
24   the Indictment.
25   //
26   //
27

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1         This Opposition is based upon the attached memorandum of points

2    and authorities and exhibits, the files and records in this case, and

3    such further evidence and argument as the Court may permit.

4    Dated: May 6, 2019                   Respectfully submitted,

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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.     INTRODUCTION
3           The Anti-Riot Act of 1968 expressly prohibits coordinated

4    campaigns of violence such as the government has alleged in the

5    Indictment, and expressly excludes from its coverage non-violent

6    political speech that is protected by the First Amendment.

7    Defendants’ planning and participation in riots with the intent to

8    violently assault their perceived enemies plainly runs afoul of the

9    Act.    Notwithstanding their protestations to the contrary, defendants

10   are not charged with merely expressing unpopular beliefs.

11   Defendants’ First Amendment attacks on the Anti-Riot Act, both facial

12   and as-applied, are therefore meritless.

13          Due to the Anti-Riot Act’s narrow focus on the use of facilities

14   of interstate commerce and interstate travel to prepare for, incite,

15   and engage in violence, courts over the past 50 years have repeatedly

16   and uniformly upheld the Act in the face of the same First Amendment

17   challenges as those recycled here.         Indeed, just last week, in a

18   lengthy memorandum opinion, the district court in the Western

19   District of Virginia rejected a nearly identical challenge brought by

20   several of defendants’ co-conspirators, who are facing the same

21   charges for the same acts of violence at the same events.           That

22   opinion, attached as Exhibit 1, persuasively explains why the

23   challenges raised by defendants here must also fail.          That opinion

24   provides exhaustive legal support for rejecting defendants’ arguments

25   on the following grounds:

26          First, the definition of “riot” in the Anti-Riot Act is not

27   facially overbroad because it prohibits only violence, true threats

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1    of violence, and the advocacy of violence where such advocacy is

2    directed to inciting or producing imminent lawless action and is

3    likely to produce such action.

4           Second, the Anti-Riot Act is not unconstitutionally vague

5    because its key terms are specifically defined and exclude mere

6    advocacy of ideas or expression of beliefs, and the scope of

7    defendants’ violation of the Act is specified in the Indictment.

8          Third, Count Two of the Indictment contains the elements of the

9    offense charged and fairly informs defendants of the charge.            No more

10   is required.   Even assuming defendants were entitled to more factual

11   specificity, the proper recourse would be to seek a bill of

12   particulars, which defendants have not done and which is not

13   warranted in light of the voluminous discovery already produced.

14         Fourth, Count One of the Indictment does not violate Wharton’s

15   Rule because the Anti-Riot Act can be violated absent any concerted

16   criminal activity between two or more persons.

17         Thus, a long and unbroken line of case law, including the recent

18   decision from the Western District of Virginia, confirms that

19   defendants’ motion is baseless and should be denied.

20   II.   PROCEDURAL AND STATUTORY BACKGROUND
21         A.   The Indictment
22         The Indictment charges defendants with conspiracy in violation

23   of Title 18, United States Code, Section 371, and rioting, in

24   violation of Title 18, United States Code, Sections 2101 and 2(a).

25   The conspiracy count charges that beginning on or about December 2016

26   and continuing until on or about October 2, 2018, defendants

27   conspired and agreed to engage in the crime of rioting.           In support

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1    of that charge, the conspiracy count sets forth 47 overt acts,

2    ranging from December 2016 to October 2, 2018.

3         The rioting count charges that beginning on or about March 27,

4    2017 and continuing until on or about April 15, 2017, defendants,

5    each aiding and abetting the other, used facilities of interstate

6    commerce, including the Internet, telephone, and a Visa credit card,

7    with the intent to incite, organize, promote, encourage, participate

8    in, and carry on a riot and commit an act of violence in furtherance

9    of a riot.    The rioting count charges that during and after such uses

10   of facilities of interstate commerce, defendants committed one or

11   more overt acts for the purposes specified above, including traveling

12   together to Berkeley on April 14, 2017, to engage in a riot.

13        B.    Motion to Dismiss in Related Case
14        On October 10, 2018, a grand jury in the Western District of

15   Virginia returned an Indictment in a related case against four of

16   defendants’ co-conspirators from the Rise Above Movement (“RAM”),

17   charging them with conspiracy to riot and rioting in connection with

18   their acts of violence at three of the same events described in the

19   Indictment in this case – Huntington Beach, Berkeley, and

20   Charlottesville.     (Ex. 2).   On February 1, 2019, the defendants in

21   that case filed a motion to dismiss the Indictment, presenting nearly

22   identical arguments as those raised here.

23        On May 2, 2019, the Honorable Norman K. Moon, United States

24   District Court, Western District of Virginia, issued a 31-page

25   opinion denying the motion, holding that (1) the Anti-Riot Act is not

26   overbroad under the First Amendment; (2) the Anti-Riot Act is not

27   impermissibly vague under the Due Process Clause of the Fifth

28   Amendment; (3) Wharton’s Rule does not prohibit charging conspiracy

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1    to violate the Anti-Riot Act; and (4) the Indictment adequately set

2    forth the elements of the Anti-Riot Act and was not required to

3    include factual details or statutory definitions.          (Ex. 1).

4         On April 29 and May 3, 2019, the remaining defendants in that

5    case pleaded guilty to conspiracy to riot pursuant to plea agreements

6    in which they admitted that they and other RAM associates trained to

7    engage in violence at political events, assaulted various people at

8    the events in Huntington Beach, Berkeley, and Charlottesville, and

9    traveled to those events “with the intention of provoking physical

10   conflict with counter-protestors, which they believed would justify

11   their use of force against the counter-protestors and shield them

12   from prosecution for their acts of violence.”          (Ex. 3 at 3-5; Ex. 4

13   at 3-5; Ex. 5 at 3-5). 1

14        C.    The Anti-Riot Act
15        The Anti-Riot Act, 18 U.S.C. § 2101(a) provides:

16              Whoever travels in interstate or foreign commerce
                or uses any facility of interstate or foreign
17              commerce, including, but not limited to, the
                mail, telegraph, telephone, radio, or television,
18              with intent (1) to incite a riot; or (2) to
                organize, promote, encourage, participate in, or
19              carry on a riot; or (3) to commit any act of
                violence in furtherance of a riot; or (4) to aid
20              or abet any person in inciting or participating
                in or carrying on a riot or committing any act of
21              violence in furtherance of a riot; and who either
                during the course of any such travel or use or
22              thereafter performs or attempts to perform any
                other overt act for any purpose specified [in
23              (1)-(4)] . . . [s]hall be fined . . . or
                imprisoned not more than five years, or both.
24
          Section 2102(a) defines “riot” as follows:
25
                a public disturbance involving (1) an act or acts
26              of violence by one or more persons part of an

27
          1 The fourth defendant in that case pleaded guilty to conspiracy
28   to riot on November 30, 2018, prior to the filing of the motion to
     dismiss. (Dkts. 57-60, Case No. 3:18-CR-00025-NJM-JCH (W.D. Va.)).
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1                assemblage of three or more persons, which act or
                 acts shall constitute a clear and present danger
2                of, or shall result in, damage or injury to the
                 property of any other person or to the person of
3                any other individual or (2) a threat or threats
                 of the commission of an act or acts of violence
4                by one or more persons part of an assemblage of
                 three or more persons having, individually or
5                collectively, the ability of immediate execution
                 of such threat or threats, where the performance
6                of the threatened act or acts of violence would
                 constitute a clear and present danger of, or
7                would result in, damage or injury to the property
                 of any other person or to the person of any other
8                individual.

9         Section 2102(b) provides that the term “to incite a riot” or “to

10   organize, promote, encourage, participate in, or carry on a riot”

11   “includes, but is not limited to”:

12               [U]rging or instigating other persons to riot,
                 but shall not be deemed to mean the mere oral or
13               written (1) advocacy of ideas or (2) expression
                 of belief, not involving advocacy of any act or
14               acts of violence or assertion of the rightness
                 of, or the right to commit, any such act or acts.
15

16        As discussed below, defendants’ overbreadth and vagueness

17   challenges are based almost exclusively on 18 U.S.C. § 2102(a)(2),

18   the portion of the definition of “riot” that includes public

19   disturbances involving “threats” of violence.          That provision is not

20   at issue in this case, which is based on riots that involved actual

21   violence, not merely threats of violence.

22   III. FACTUAL BACKGROUND
23        As set forth in the Indictment, throughout 2017, defendants

24   participated in RAM, which represented itself as a combat-ready,

25   militant group of a new nationalist white supremacy and identity

26   movement.   Defendants and their co-conspirators used the Internet and

27   text messages to coordinate and participate in hand-to-hand and other

28   combat training to prepare to engage in violence at political

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1    rallies.   Defendants and their co-conspirators then traveled to

2    rallies in Huntington Beach, Berkeley, and San Bernardino,

3    California, where they assaulted various persons including counter-

4    protestors, journalists, and a police officer.          Following each of

5    those events, defendants and their co-conspirators used the Internet

6    and text messages to celebrate their acts of violence at these events

7    and recruit more members for future events.

8    IV.   ARGUMENT
9          A.   The Anti-Riot Act is Not Overbroad Under the First
                Amendment
10
           The Anti-Riot Act is not overbroad under the First Amendment.
11
     As an initial matter, because the Anti-Riot Act is content-neutral,
12
     it is subject to intermediate scrutiny and “will be sustained under
13
     the First Amendment if it advances important governmental interests
14
     unrelated to the suppression of free speech and does not burden
15
     substantially more speech than necessary to further those interests.”
16
     Turner Broadcasting Systems, Inc. v. FCC, 520 U.S. 180, 189 (1997).
17
     See also United States v. Chi Mak, 683 F.3d 1126, 1134-35 (9th Cir.
18
     2012) (applying intermediate scrutiny to statute that prohibits
19
     expressive conduct “without regard to content or viewpoint”); United
20
     States v. O’Brien, 391 U.S. 367, 376 (1968) (“[W]hen speech and
21
     nonspeech elements are combined in the same course of conduct, a
22
     sufficiently important governmental interest in regulating the
23
     nonspeech element can justify incidental limitations on First
24
     Amendment freedoms.”).
25
           The Anti-Riot Act serves an important governmental interest in
26
     preventing public disturbances, in particular those involving
27
     interstate travel or the use of facilities of interstate commerce.
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1    See Ex. 1 at 16 (“The Court finds that § 2101 materially advances

2    Congress’s substantial interest in keeping the channels of interstate

3    commerce free from immoral and injurious uses, namely uses that

4    facilitate riotous disturbances involving violence or threats of

5    violence backed up by immediate execution.”) (quotation marks

6    omitted); National Mobilization Committee to End the War in Vietnam

7    v. Foran et al., 411 F.2d 934, 939 (7th Cir. 1969) (“[T]he federal

8    government has a strong interest in preventing violence to persons

9    and injury to their property, and when clear and present danger of

10   riot appears, the power of Congress to punish is obvious.”)

11          Furthermore, the Anti-Riot Act is narrowly tailored to serve

12   that interest because, as discussed below, it applies only to

13   (1) interstate travel or use of a facility of interstate commerce,

14   (2) with intent to undertake acts of violence in furtherance of a

15   riot or to incite or instigate a riot, (3) followed by overt acts

16   committed with the same intent and for the same purpose.           (Ex. 1 at

17   16).    Defendants, like numerous unsuccessful challengers before them,

18   seek to construe the statute more broadly by ignoring several of its

19   key provisions.

20          Defendants first contend that the Anti-Riot Act “impermissibly

21   infringes on the freedom of assembly” because it “equates organized

22   assemblies with organized violence,” and fails to distinguish between

23   “lawful advocacy and unlawful incitement.”         (Motion at 7, 8).     That

24   is incorrect.    On its face, the Anti-Riot Act applies not to all

25   “organized assemblies,” but only to “public disturbances” involving

26   “acts of violence” or threats of violence “by a person having the

27   ability of immediate execution of such threats.”          18 U.S.C.

28   § 2102(a).    See Ex. 1 at 17 (“The Court finds no merit in Defendants’

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1    contention that § 2101 ‘equates organized assemblies with organized

2    violence’ or impermissibly chills expressive conduct by ‘endorsing

3    the prosecution of political protest.’        The Act does not criminalize

4    peaceful protest or lawful assembly but rather targets ‘public

5    disturbances involving’ violence or the threat of such violence

6    undergirded by the ‘ability of immediate execution.’”)            And on its

7    face, the Anti-Riot Act prohibits prosecution based on “lawful

8    advocacy,” stating that it does not apply to mere “advocacy of ideas”

9    or “expression of belief.”      18 U.S.C. § 2102(b); Foran, 411 F.2d at

10   938 (“The statute expressly excludes oral or written advocacy of

11   ideas or expressions of belief not involving violence.”).

12        Defendants next contend that the Anti-Riot Act is overbroad

13   because it applies to conduct in furtherance of public disturbances

14   involving not only violence but also “the mere threat of an act of
15   violence,” even if the harm is not imminent.           (Mot. at 8-9 (emphasis

16   in original)).    As an initial matter, even if the Court were to

17   construe certain provisions of the Anti-Riot Act as overbroad in

18   their possible application to mere advocacy or threats of violence,

19   the Court should still deny the motion because this case does not

20   rely on those provisions.      Ayotte v. Planned Parenthood of Northern

21   New England, 546 U.S. 320, 328-29 (2006) (“Generally speaking, when

22   confronting a constitutional flaw in a statute, we try to limit the

23   solution to the problem.      We prefer, for example, to enjoin only the

24   unconstitutional applications of a statute while leaving other

25   applications in force, or to sever its problematic portions while

26   leaving the remainder intact.”).       The defendants in this case are not

27   charged merely with advocating that others engage in violence, or

28   furthering threats of violence; they are charged with personally

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1    preparing to engage in violent riots and violently assaulting people

2    at those riots.

3         In any event, the argument is meritless.          It is well established

4    that true threats of violence are unlawful and not protected by the

5    First Amendment, regardless of whether the person making the threat

6    has the ability to execute the threat.        See Elonis v. United States,

7    135 S. Ct. 2001, 2012 (2015) (holding that “[i]t is settled that the

8    Constitution does not protect true threats,” and where a statute

9    requires a defendant transmit a communication for the purpose of

10   issuing a threat or with knowledge that the communication will be

11   viewed as a threat, “it is not necessary to consider any First

12   Amendment issues”).      Just as it is unlawful to make a true threat, so

13   is it unlawful to induce such a threat.        United States v. Williams,

14   553 U.S. 285, 298 (2008) (“Many long established criminal

15   proscriptions—such as laws against conspiracy, incitement, and

16   solicitation—criminalize speech . . . that is intended to induce or

17   commence illegal activities.”).       Such acts criminalizing “proposal[s]

18   to engage in illegal activity . . . fall[] well within constitutional

19   bounds.”   Id. at 299-300.

20        Furthermore, the statute here complies with Brandenburg v. Ohio,

21   395 U.S. 444, 448 (1969), because it applies to the making or

22   inducing not of all threats, but only those threats that create an

23   immediate, clear and present danger.        The statute defines a “riot” as

24   a “public disturbance involving” either acts of violence constituting

25   a “clear and present danger” to people or property or “threats” of

26   such violence by individuals “having the ability of immediate

27   execution of such threats,” where the performance of the threatened

28   acts “would constitute a clear and present danger” to people or

                                             9
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1    property.”    See Ex. 1 at 20; In re Shead, 302 F. Supp. 560, 566 (N.D.

2    Cal. 1969).    Because the public disturbances urged or instigated

3    under the statute must “constitute a clear and present danger, the

4    overt acts themselves which are committed for that purpose,

5    necessarily must also constitute a clear and present danger.”            Ex. 1

6    at 20 (quoting In re Shead, 302 F. Supp. at 566).          Accordingly, “the

7    conduct condemned by 18 U.S.C. § 2101 is sufficiently limited to

8    advocacy of the use of force or of law violation where such advocacy

9    is directed to inciting or producing imminent lawless action and is

10   likely to incite or produce such action.”         Id. (citing Brandenburg,

11   395 U.S. at 448); United States v. Dellinger, 472 F.2d 340, 361-62

12   (7th Cir. 1972) (holding that the overt acts required by the statute

13   create an “adequate relation between expression and action” under the

14   First Amendment).

15        Because the definition of “riot” in the Anti-Riot Act

16   specifically “carve[s] out” the sort of advocacy or expression that

17   is protected under the First Amendment, and covers only to public

18   disturbances involving violence or threats of violence that

19   constitute a clear and present danger, it is not overbroad.            See Chi

20   Mak, 683 F.3d at 1136 (rejecting First Amendment overbreadth

21   challenge to the Arms Export Control Act and the International

22   Traffic in Arms Regulations which “specifically carve out exceptions

23   to the law for the types of information that are subject to the

24   highest levels of First Amendment protection”).

25        Furthermore, defendants are incorrect that there is an

26   attenuation between the travel or use of facilities of interstate

27   commerce with riotous intend and the subsequent overt act.            The

28   statute requires that a defendant act with the riotous intent both at

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1    the time of the interstate travel or use of facility of interstate

2    commerce, and again when committing an overt act in furtherance of

3    the riot.   United States v. Hoffman, 334 F. Supp. 504, 509 (D.D.C.

4    1971) (holding that the Anti-Riot Act does not “authoriz[e]

5    conviction where the unlawful intent and the prohibited act do not

6    coincide”).

7          Defendants next contend that the Anti-Riot Act chills speech

8    because a speaker who utters “inflammatory words” can be liable for

9    “a potential listener’s reaction,” whether the listener is a

10   supporter of the speaker or an opponent, imposing a “heckler’s veto”

11   on unpopular speech.      (Mot. at 11-12).    Defendants are wrong.      The

12   statute cannot be applied in such a circumstance because, again, it

13   requires that a defendant act with the specific intent to incite or

14   promote a riot.    The Seventh Circuit has directly rejected this exact

15   argument:

16               Plaintiffs’ arguments based on guilt by
                 association, loss of control over a theretofore
17               peaceful assembly, and strict liability for the
                 acts of anyone joining an intended peaceful
18               demonstration simply fail to take account of the
                 language of the statute. The statute does
19               interdict riot-connected overt acts, but only if
                 the prescribed intent is present when the
20               interstate travel or use of interstate facilities
                 occurs. Thus the intent to engage in one of the
21               prohibited overt acts is a personal prerequisite
                 to punishment under this provision and
22               necessarily renders any challenge based on
                 innocent intent or unexpected result wide of the
23               mark.

24   Foran, 411 F.2d at 938.

25        Courts have uniformly and repeatedly construed the Anti-Riot Act

26   narrowly to include these specific requirements of unlawful intent

27   and action.    Even assuming the statute could fairly be construed more

28   broadly, as defendants propose, the well-established canon of

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1    constitutional avoidance counsels against such a construction.             See

2    United States v. Buckland, 289 F.3d 558, 564 (9th Cir. 2002) (“The

3    Supreme Court instructs us that ‘every reasonable construction must

4    be resorted to, in order to save a statute from unconstitutionality,”

5    and where an “otherwise acceptable construction of a statute would

6    raise serious constitutional problems, and where an alternative

7    interpretation of the statute is fairly possible, we are obligated to

8    construe the statute to avoid such problems.”).

9             Properly construed, the Anti-Riot Act’s intent and action

10   requirements prevent the statute from capturing a “substantial amount

11   of protected speech” and running afoul of the First Amendment.

12   Williams, 553 U.S. at 292. 2     See In re Shead, 302 F. Supp. at 565

13   (“In summary, Congress has made it a crime if there is an intent to

14   promote a riot at the time of use of interstate or foreign facilities

15   and at that time or thereafter, the additionally-required overt acts

16   are committed.     This intent must be to promote, and the overt acts

17   must be committed for the purpose of promoting, the disturbances

18   defined in 18 U.S.C. § 2102(a)”); Ex. 1 at 15 (“Under this

19   construction, § 2101 only regulates either violence committed in

20   furtherance of a riot or the unprotected incitement or instigation of

21   a riot.”); Hoffman, 334 F. Supp. at 509 (same).          The Anti-Riot Act

22   advances important governmental interests unrelated to the

23

24        2 To the extent the Anti-Riot Act could capture one of the
     hypothetical scenario defendants suggest, “in determining whether a
25   statute’s overbreadth is substantial, [courts] consider a statute’s
     application to real-world conduct, not fanciful hypotheticals.”
26   United States v. Stevens, 559 U.S. 460, 487 (2010). The “mere fact
     that one can conceive of some impermissible applications of a statute
27   is not sufficient to render it susceptible to an overbreadth
     challenge.” Williams, 553 U.S. at 303 (quoting Members of City
28   Council of Los Angeles v. Taxpayers for Vincent, 466 U.S. 789, 800
     (1984)).
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1    suppression of free speech and does not burden substantially more

2    speech than necessary to further those interests, and must be

3    sustained under the First Amendment.        Turner Broadcasting Systems,

4    520 U.S. at 189.

5         B.    The Anti-Riot Act is Not Unconstitutionally Vague
6         The Anti-Riot Act is not unconstitutionally vague because its

7    key terms are specifically defined and exclude mere advocacy of ideas

8    or expression of beliefs, and the scope of defendants’ violation of

9    the Act is specified in the Indictment.

10        A criminal statute is void for vagueness under the Fifth

11   Amendment if “it fails to give ordinary people fair notice of the

12   conduct it punishes, or [is] so standardless that it invites

13   arbitrary enforcement.”      Johnson v. United States, 135 S. Ct. 2551,

14   2556 (2015).    While a “more stringent vagueness test should apply”

15   when a statute “interferes with the right of free speech or of

16   association,” “perfect clarity and precise guidance have never been

17   required even of regulations that restrict expressive activity.”

18   Holder v. Humanitarian Law Project, 561 U.S. 1, 19 (2010).

19        Defendants argue that the term “riot” under the statute is vague

20   because to determine whether a public disturbance involves a threat

21   of violence that can be immediately executed requires an “abstract

22   assessment” of the ability of the person making the threat to carry

23   it out.   (Mot. at 14-15).     As an initial matter, defendants’

24   challenge to the “threats” provision of the statute is inapplicable

25   to this case, because they are charged for their roles in riots that

26   involved actual violence, not merely threats of violence.            See

27   Humanitarian Law Project, 561 U.S. at 18-19 (“We consider whether a

28   statute is vague as applied to the particular facts at issue, for a

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1    plaintiff who engages in some conduct that is clearly proscribed

2    cannot complain of the vagueness of the law as applied to the conduct

3    of others.”)

4         In any event, Judge Moon rejected the identical facial

5    challenge, reasoning:

6               A criminal statute is not void for vagueness
                simply because it ‘call[s] for the application of
7               a qualitative standard . . . to real-world
                conduct; the law is full of instances where a
8               man’s fate depends on his estimating rightly
                . . . some matter of degree. Johnson, 135 S. Ct.
9               at 2562. Moreover, the Court cannot say that
                whether a ‘public disturbance’ involves a
10              ‘threat’ of an ‘act or acts of violence’
                fortified by ‘the ability of immediate execution’
11              calls for ‘wholly subjective judgments without
                statutory definitions, narrowing context, or
12              settled legal meanings.’ Williams, 553 U.S. at
                306. Indeed, § 2102(a)(2) is itself a statutory
13              definition refining the term ‘riot,’ and both
                ‘riot,’ and ‘threat’ have settled legal meanings.
14

15   Ex. 1 at 9.

16        As Judge Moon noted, Black’s Law Dictionary’s definition of

17   “riot” generally tracks that set forth in the Anti-Riot Act: “(1) An

18   assemblage of three or more persons in a public place taking

19   concerted action in a turbulent and disorderly manner for a common

20   purpose . . .” and (2) “An unknown disturbance of the peace by an

21   assemblage of usu.       Three or more persons acting with a common

22   purpose in a violent or tumultuous manner that threatens or

23   terrorizes the public or an institution.”          Id. at n.6 (quoting Riot,
24   Black’s Law Dictionary (10th ed. 2014)).

25        Furthermore, numerous federal and state criminal laws require

26   proof that an individual had the ability to carry out a threat.                 The

27   federal bank robbery statute, 18 U.S.C. § 2113(d), prohibits

28   committing an “assault” in commission of a bank robbery, which courts

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1    have defined to require “an intent to, and in fact generating a

2    reasonable apprehension in a victim plus a threat or attempt to

3    inflict bodily harm coupled with the present ability to commit

4    violent injury upon the person of another.”            United States v.

5    Coulter, 474 F.2d 1004, 1005 (9th Cir. 1973) (emphasis added).

6    Similarly, the federal crime of assault with a dangerous weapon, 18

7    U.S.C. § 113(c), has been defined to include an “attempt coupled with

8    the present ability to commit a violent injury upon the person of

9    another.”    Brundage v. United States, 365 F.2d 616, 618 (10th Cir.

10   1966).    Examples of similar state statutes abound.          See, e.g., United

11   States v. McGee, 890 F.3d 730, 735 (8th Cir. 2018) (Iowa statute

12   defining assault as acts intended to place another in fear of

13   immediate harmful contact “coupled with the apparent ability to

14   execute the act”); United States v. Wardrick, 350 F.3d 446, 455 (4th

15   Cir. 2003) (Maryland statute defining assault as a “threat by words

16   or acts or both to do bodily harm to another, coupled with the

17   apparent present ability to carry out the threat”); Lovely v.

18   Cunningham, 796 F.2d 1, 3-4 (1st Cir. 1986) (New Hampshire statute

19   defining sexual assault to include coercing sexual activity through

20   threats coupled with apparent “ability to execute these threats in

21   the future”).    The definition of “riot” in this case adopts well-

22   established and familiar legal standards and concepts and is not

23   vague.

24          Likewise, the terms “to incite a riot” and to “organize,

25   promote, encourage, participate in, or carry on a riot” do not call

26   for “wholly subjective judgments without statutory definitions,

27   narrowing context, or settled legal meanings.”            Williams, 553 U.S. at

28   306.    On the contrary, the statute specifically defines the terms as

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1    including “urging or instigating other persons to riot,” and

2    excluding mere “advocacy of ideas” or “expression of belief . . .”

3    18 U.S.C. § 2102(b).      As the Seventh Circuit held in Dellinger, the

4    term “urge” has a settled legal meaning:        “[n]early all definitions

5    suggest an impelling beyond mere persuasion, and it is said that

6    ‘URGE indicates a pressing, impelling, seeking to influence, or

7    overcoming some obstacle, check, or drawback to a certain course.”

8    472 F.2d at 362 (quoting Webster’s Third New International Dictionary

9    (1961)).   Furthermore, the Seventh Circuit explained, all of the acts

10   proscribed in 18 U.S.C. § 2101(a) “embody a relation to action in

11   that they logically appear to require that the riot occur” or

12   “require the element of propelling the action.”           Dellinger, 472 F.2d

13   at 361.    “Many long established criminal proscriptions—such as laws

14   against conspiracy, incitement, and solicitation—criminalize speech .

15   . . that is intended to induce or commence illegal activities.”

16   Williams, 553 U.S. at 298.      Such acts criminalizing “proposal[s] to

17   engage in illegal activity . . . fall[] well within constitutional

18   bounds.”   Id. at 299-300.

19        Finally, all of these specifically defined terms in the Anti-

20   Riot Act are further narrowed by the statute’s “intent” requirement.

21   In Hill v. Colorado, 530 U.S. 703, 732 (2000), the Supreme Court

22   rejected a vagueness challenge because the challenged statute

23   contained a scienter requirement of “knowingly” and because the

24   statute contained “common words” understandable by people of ordinary

25   intelligence.    “[A] scienter requirement may mitigate a law’s

26   vagueness, especially with respect to the adequacy of notice to the

27   complainant that his conduct is proscribed.”           United States v. Jae

28   Gab Kim, 449 F.3d 933, 943 (9th Cir. 2006); see also United States v.

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1    Osinger, 753 F.3d 939, 945 (9th Cir. 2014) (scienter requirement

2    undermined defendant’s contention that he was unable to discern that

3    his conduct was prohibited by the statute).            Here, as in Hill, the

4    statute’s intent requirement, which requires intent both with respect

5    to the interstate commerce element and the overt act, alleviates any

6    concern that defendants are being punished for behavior they could

7    not have known was illegal.

8         With respect to defendants’ as-applied challenge, defendants

9    here are charged not with making speeches or inciting others to riot,

10   but with rioting themselves.       As the Indictment sets forth,

11   defendants used facilities of interstate commerce—including text

12   messages, the Internet, and a credit card—to recruit, train, and

13   travel to political events with the shared intent of beating up their

14   political opponents.      (Dkt. 47 ¶¶ 7-10).    Defendants then did exactly

15   that, by their own admission, jumping over barriers (id. at 12),

16   “smashing commies,” (id. at 11), and recruiting others to join “the

17   only alt right crew that actually beats antifa senseless and wins

18   rallies” (id. at 11). 3     The statute is not vague as applied to

19   defendants.

20

21

22
          3 Defendants argue that the Overt Acts set forth in the
23   Conspiracy count in the Indictment that include statements by
     defendants and co-conspirators after the riots cannot constitute use
24   of facilities of interstate commerce in furtherance of a riot, and
     therefore evidence the government’s “uncertainty” regarding the scope
25   of the statute. (Mot. 17-18). That argument is meritless. The
     post-riot statements to which defendants refer are set forth as Overt
26   Acts. An act need not itself establish an element of the underlying
     offense in order to constitute an overt act in furtherance of a
27   conspiracy. Here, defendants’ post-riot statements and actions set
     forth in the conspiracy count constitute overt acts in furtherance of
28   their ongoing agreement to engage in riots to beat up their political
     opponents.
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1         C.     Count Two Sufficiently Alleges a Violation of the Anti-Riot
                 Act
2

3         Count Two adequately alleges that defendants violated the Anti-

4    Riot Act.    Under Federal Rule of Criminal Procedure 7, an Indictment

5    is sufficient if it “contains the elements of the offense charged and

6    fairly informs a defendant of the charge against which he must

7    defend, and, second, enables him to plead an acquittal or conviction

8    in bar of future prosecutions for the same offense.”           Hamling v.

9    United States, 418 U.S. 87, 117 (1974).        “It is generally sufficient

10   that an indictment set forth the offense in the words of the statute

11   itself, as long as ‘those words of themselves fully, directly, and

12   expressly, without any uncertainty or ambiguity, set forth all the

13   elements necessary to constitute the offence intended to be

14   punished.”    United States v. Chenaur, 552 F.2d 294, 301 (9th Cir.

15   1977) (quoting United States v. Carll, 105 U.S. 611, 612 (1882)).              An

16   Indictment does not need to set forth the “manner and means employed”

17   to commit the offense.      Id.   “An indictment should be read in its

18   entirety, construed according to common sense, and interpreted to

19   include facts which are necessarily implied.”          United States v.

20   Berger, 473 F.3d 1080, 1097 (9th Cir. 2007).

21        Defendants’ argument that Count Two fails to allege an

22   interstate commerce nexus or the requisite intent is without merit.

23   Count Two expressly alleges both elements, stating that between on or

24   about March 27, 2017 and April 15, 2017, defendants, “each aiding and

25   abetting the other, used facilities of interstate commerce, including

26   but not limited to the Internet, telephone, and a Visa credit card

27   with account number ending in 0807, with intent to incite, organize,

28   promote, encourage, participate in, and carry on a riot, and to

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1    commit an act of violence in furtherance of a riot, and to aid or

2    abet any person in inciting and participating in and carrying on a

3    riot and committing any act of violence in furtherance of a riot,”

4    and during and after such use, defendants “committed one or more

5    overt acts for one or more of the purposes specified above, including

6    traveling together on or about April 14, 2017, to Berkeley,

7    California, to engage in a riot.”         (Dkt. 47 ¶ 9) (Emphasis added).

8    The Indictment thus expressly alleges both that defendants used

9    facilities of interstate commerce with the intent to riot, and that

10   they subsequently committed an overt act to engage in a riot.

11        Defendants’ argument appears to be that although Count Two

12   clearly alleges the elements of the offense, it does not set forth

13   specific examples of the manner and means by which each defendant

14   committed each of the elements of the offense.            But that is not what

15   the law requires.        See United States v. Fernandez, 388 F.3d 1199,

16   1218 (9th Cir. 2004) (“We have previously held, in the context of

17   Hobbs Act prosecutions, that an indictment need not set forth facts

18   alleging how interstate commerce was affected, nor otherwise state

19   any theory of interstate impact.         The rationale of these cases is

20   equally applicable to the interstate nexus requirement in the RICO

21   statute.”); United States v. Musacchio, 968 F.2d 782, 786 (9th Cir.

22   1991) (“[T]he government was not required to allege its theory of the

23   case or list supporting evidence to prove the crime alleged.”)

24   Defendants do not and cannot dispute that Count Two sets forth all

25   elements necessary to constitute the offense, including the use of

26   facilities of interstate commerce.

27        Defendants’ claim that certain evidence would be insufficient

28   under the Commerce Clause cannot be determined on a motion to

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1    dismiss.   Federal Rule of Criminal Procedure allows a defendant to

2    file a pretrial motion to dismiss an indictment if the motion “can be

3    determined without a trial on the merits.”         Fed. R. Crim. P.

4    12(b)(3)(B). “A motion to dismiss is generally capable of

5    determination before trial if it involves questions of law rather

6    than fact.”    United States v. Kelly, 874 F.3d 1037, 1046 (9th Cir.

7    2017) (quotation omitted).      “If the pretrial claim is ‘substantially

8    founded upon and intertwined with’ evidence concerning the alleged

9    offense, the motion falls within the province of the ultimate finder

10   of fact and must be deferred.”       United States v. Shortt Accountancy

11   Corp., 785 F.2d 1448, 1452 (9th Cir. 1986) (citation omitted).

12        Finally, even assuming defendants were entitled to additional

13   factual specificity, the proper recourse would have been not to seek

14   dismissal of the well-pleaded Indictment, but to seek a bill of

15   particulars, which defendants did not do.         United States v. Giese,

16   597 F.2d 1170, 1180 (9th Cir. 1979) (setting forth bases for

17   providing bill of particulars).       Nonetheless, because the voluminous

18   discovery in this case contains abundant examples of defendants’ use

19   of social media, text messages, encrypted messaging services, and

20   credit and debit cards to train, recruit, prepare for, and travel to

21   the riot on April 15, 2017, defendants have been more than adequately

22   advised of the numerous ways in which their conduct satisfied the

23   elements of Count Two.      See Giese, 597 F.2d at 1180 (affirming denial

24   of request for bill of particulars where “the government provided

25   appellant with a large volume of information . . . which revealed the

26   government’s theory of the case,” and holding that “[f]ull discovery

27   also obviates the need for a bill of particulars”).

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1         D.    The Conspiracy Count Does Not Violate Wharton’s Rule
2         Wharton’s Rule does not preclude charging a conspiracy to

3    violate the Anti-Riot Act.      Wharton’s Rule states that “an agreement

4    by two persons to commit a particular crime cannot be prosecuted as a

5    conspiracy when the crime is of such a nature as necessarily to

6    require the participation of two persons for its commission.”            United

7    States v. Ohlson, 552 F.2d 1347, 1348 (9th Cir. 1977).           As Judge Moon

8    held, defendants’ challenge under Wharton’s Rule is “baseless” for

9    three reasons.    Ex. 1 at 29.

10        First, the Anti-Riot Act can be violated by one person.

11   Although more than one person must be present at a public event in

12   order for a riot to exist, “the underlying crime of traveling [or

13   using facilities of interstate commerce] with the requisite intent

14   followed by an overt act in furtherance of a riot can plainly be

15   committed by a single person.”       Id. at 30.

16        Second, Wharton’s Rule is aimed at crimes, such as bigamy or

17   adultery, in which “[t]he parties to the agreement are the only

18   persons participating in the substantive offense, the immediate

19   consequences of the crime rest solely on the participants, and the

20   agreement constituting the substantive offense is unlikely to pose

21   any threat to society which conspiracy laws are intended to prevent,

22   such as a continuing pattern of criminal conduct.”          United States v.

23   Castro, 887 F.2d 988, 996 (9th Cir. 1989).         Here, unlike crimes such

24   as bigamy or adultery, the consequences of violating the Anti-Riot

25   Act fall on society, rather than on defendants only.           Ex. 1 at 30.

26        Third, the “third-party exception” to Wharton’s Rule renders the

27   rule “inapplicable when the conspiracy involves the cooperation of a

28   greater number of persons than is required for the commission of the

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1    substantive offense.”      Iannelli v. United States, 420 U.S. 770, 776

2    (1975).    Here, the charged conspiracy involved, at least, the four

3    defendants, two additional co-conspirators identified in the

4    Indictment, and the remaining defendants who have pleaded guilty for

5    their roles in the conspiracy in the Western District of Virginia.

6    Therefore, even assuming defendants’ mistaken premise that the

7    underlying crime requires three participants, the third-party

8    exception would render Wharton’s Rule inapplicable.           Wharton’s Rule

9    does not preclude the charge of conspiracy to violate the Anti-Riot

10   Act.

11   V.     CONCLUSION
12          For the foregoing reasons, defendants’ Joint Motion to Dismiss

13   the Indictment should be denied.

14   Dated: May 6, 2019                   Respectfully submitted,

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